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January 6, 2025

Hon. Mary K. Vyskocil
United Stated District Judge
United States Courthouse
40 Foley Square
New York, NY 10007


RE:    KARIM v. MIADONNA & COMPANY, LLC
       DOCKET NO. 1:24-cv-4788

Dear Judge Vyskocil:


       The undersigned represents Jessica Karim, the Plaintiff in the above-referenced matter. On
December 5, 2024, the most recent Order was issued by Your Honor, providing that the above-
captioned action is discontinued without costs and without prejudice to restoring the action to this
Court's calendar if the application to restore the action is made by January 6th.
       To date, despite ongoing efforts from both parties, the agreed upon settlement terms remain
unformalized in writing. Accordingly, Plaintiff respectfully requests the Court to extend the time
to reopen the matter by thirty (30) days in order to allow the parties additional time to finalize the
settlement and file a stipulation of dismissal or for Plaintiff to file a motion to reopen the action.


       Thank you for your time and consideration on this matter.

                                                               Respectfully,




                                                               Gabriel A. Levy
